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                                   STATEMENT OF FACTS

        Your affiant, Ryan Nougaret, is a Special Agent assigned to the FBI Miami Division. In
my duties as a special agent, I have received formal training and have gained experience in
interviewing and interrogation techniques, arrest procedures, search warrant applications, the
execution of search and seizure warrants, and various other criminal laws and procedures.
Currently, I am tasked with investigating criminal activity in and around the Capitol grounds on
January 6, 2021. As a Special Agent, I am authorized by law or by a Government agency to engage
in or supervise the prevention, detection, investigation, or prosecution of a violation of Federal
criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                BARRY BENNET RAMEY’s Participation in the Captiol Seige

        This investigation was initiated based on an identification of BOLO AFO-329 and
geolocation data from AT&T which indicate that BARRY BENNETT RAMEY,
                                                     , on January 6, 2021, assaulted federal
officers and unlawfully entered on Capitol Grounds, a restricted area, in violation of multiple
federal laws.

         Numerous federal officers were assaulted during the breach of the Capitol building on
January 6, 2021, in violation of multiple federal laws. According to a review of video footage
posted on Propublica’s Parler repository, Florida resident, BARRY BENNETT RAMEY was
observed assaulting law enforcement officers by spraying them with an unknown orange substance
that is consistent with pepper spray. At approximately 1:48 pm, on the front west side of the U.S.
Capitol building under the scaffolding that is part of the platform/staging built for the Inauguration
platform, several U.S. Capitol Police (USCP) Officers were attempting to block rioters’ access to
the stairwell leading from the Lower West Terrace to the Upper West Terrace of the Capitol
building. The group of rioters were yelling at the USCP Officers while they held the line at the
stairwell. Eventually several rioters began yelling “push” and the group pushed forward into the
officers, pushing them back and up the stairwell. Your affiant reviewed the Parler video and
identified RAMEY as part of the group. Specifically, at approximately 0:27 of the video, RAMEY
is observed spraying a USCP Officer (Victim Officer 1) in the eyes. This assault resulted in Victim
Officer 1 losing ground against the crowd and having to back away up the stairs. At approximately
0:30-32 of the video, RAMEY is observed spraying a second USCP Officer (Victim Officer 2),
contributing to the Officer having to move off to the side and away from the group. These assaults
were captured via screen shots and video.

        Victim Officer 1 and Victim Officer 2 were interviewed. Victim Officer 1 said that on
January 6, 2021, while on duty at the U.S. Capitol building, he was sprayed in the eyes and face
with an unknown substance which caused him to become disoriented and his vision impaired.
Victim Officer 1 did not see who sprayed him but said the assault occurred while he and other
USCP Officers were attempting to block access to the stairwell leading from the lower west terrace
to the upper west terrace of the Capitol building (“Senate steps on the west front”). Victim Officer
1 was provided photographs and video clip footage of the incident and said he was not able to
recognize RAMEY due to the large crowds of people and his vision being impaired after being
sprayed. Victim Officer 2 said that on January 6, 2021, while on duty at the U.S. Capitol building,
he was sprayed in the eyes and face with an unknown substance which caused him to become
disoriented and his vision impaired. Victim Officer 2 did not see who sprayed him but said the
assault occurred while he and other USCP Officers were attempting to block access to the stairwell
leading from the lower west terrace to the upper west terrace of the Capitol building. Victim
Officer 2 was provided photographs and video clip footage of the incident and said he was not able
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to recognize RAMEY due to the large crowds of people and his vision being impaired after being
sprayed.

        RAMEY was identified as the owner/user of telephone number 1-954-531-8811.
According to records obtained through a search warrant which was served on AT&T, on January
6, 2021, in and around the time of the incident, the cellular phone associated with 1-954-531-8811
was identified as having utilized a cell site consistent with providing service to a geographic area
that included the Capitol Grounds and interior of the U.S. Capitol building. Furthermore, according
to information FBI Miami obtained from multiple confidential human sources, RAMEY was listed
on a master list of Proud Boys members in Southern Florida and was associated with telephone
number 1-954-531-8811. 1 Your affiant obtained RAMEY’s driver’s license photograph and
determined it to be consistent with the individual shown in BOLO AFO-329 and in the above-
referenced January 6, 2021 footage.

        The General Manager of Hilton Arlington hotel in Arlington, Virginia, was interviewed
and provided the following information regarding RAMEY: documentation pertaining to
RAMEY’s hotel reservation and parking at Hilton Arlington during the time period of January 5
– 7, 2021. The hotel is approximately seven miles from the U.S. Capitol. A search for social media
accounts with the user name “Barry Ramey” identified an associated Google account. The account
made several relevant reviews, including one from January 2021 in which RAMEY wrote a review
on Google for Hilton Arlington, located at 950 N Stafford St., Arlington, VA 22203.

        A third party identification was obtained for RAMEY via his former neighbor. Interviewee
was shown a Driver And Vehicle Information Database (DAVID) picture [3rd Party ID photo 1]
of RAMEY who interviewee identified as “Barry Ramey.” Interviewee said that RAMEY recently
had to move out of his (RAMEY) apartment because the owner decided to move back in.
Interviewee said he spoke with RAMEY regularly when they were neighbors. Interviewee
remembered that on a couple of occasions RAMEY had said he (RAMEY) was going to travel to
Washington D.C. for the protests at the U.S. Capitol. Interviewee was then showed two
photographs of RAMEY taken at the U.S. Capitol riots in Washington D.C. on January 6, 2021,
copied below. Interviewee identified the individual in the January 6, 2021 photographs as “Barry
Ramey.”




1
       The Proud Boys describes itself as a “pro-Western fraternal organization for men who
refuse to apologize for creating the modern world; aka Western Chauvinists.” Proud Boys
members routinely attend rallies, protests, and other events, some of which have resulted in
violence involving members of the group. There is an initiation process for new members of the
Proud Boys, and members often wear black and yellow polo shirts or other apparel adorned with
Proud Boys logos and slogans to public events.
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       The following images are screenshots at the 0:27 mark of the Parler video, showing
RAMEY spraying an orange substance consistent with pepper spray into the face of a law
enforcement officer on the stairwell who is wearing a basecall cap and a light facemask:
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       Other screenshots, from between the 0:30-32 marks of the Parler video, show RAMEY
spraying an orange substance consistent with pepper spray into the face of a different law
enforcement officer wearing a light blue helmet:
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       The following screenshots show additional angles of RAMEY shortly before he sprays the
two law enforcement officers:
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                                  RAMEY’s Contact With Your Affiant

       On February 11, 2022, your affiant left his business card with a close associate of RAMEY
during an attempted interview. Your affiant’s business card contained your affiant’s work cell
phone number and identified him as an FBI Special Agent. Subsequent to the attempted interview,
on February 12, 2022, your affiant received a phone call from an individual who claimed to be
RAMEY’s attorney and who said that RAMEY contacted him because RAMEY had been
informed that the FBI was asking about him.

        On April 8, 2022, your affiant received a phone call on his work cell phone from telephone
number 1-305-317-4040. When your affiant answered the call, your affiant recognized the voice
of the male individual on the phone as consistent with the voice of BARRY BENNETT RAMEY.
Your affiant had recently listened to RAMEY speak at length on a YouTube video. “Is this Mr.
Nougaret? And you still live at [your affiant’s home address].” Your affiant replied, “Who is
this?” The caller then immediately terminated the phone call. Shortly thereafter, your affiant
received a text message from the same number (1-305-317-4040) which included the VIN number
for a vehicle previously owned by your affiant without any other text. Your affiant replied via text
message, “????” Your affiant then received the following text message from the same number,
“Check that VIN number.;)”.

        FBI Miami ran telephone number 1-305-317-4040 to determine the carrier and the number
came back to Onvoy, LLC d/b/a Inteliquent. Inteliquent and its subsidiaries primarily provide
wholesale telecommunications services to other telecommunications carriers, re-sellers and
service providers. As such, Inteliquent generally does not have retail subscriber/end user
information on file. Onvoy is known for wholesale VoIP (Voice over Internet Protocol) services
which are unattributable to a specific individual. Based on this information, it can reasonably be
inferred that RAMEY had obtained your affiant’s contact information via the business card left
with RAMEY’s associate and that RAMEY called and sent a text toyour affiant using Onvoy in
April 2022.
                                              Charges

        Based on the foregoing, your affiant submits that there is probable cause to believe that
BARRY BENNETT RAMEY violated 18 U.S.C. §§ 1752(a)(1), (2), (4), and (b)(1))(A), which
make it a crime to (1) knowingly enter or remain in any restricted building or grounds without
lawful authority to do; and (2) knowingly, and with intent to impede or disrupt the orderly conduct
of Government business or official functions, engage in disorderly or disruptive conduct in, or
within such proximity to, any restricted building or grounds when, or so that, such conduct, in fact,
impedes or disrupts the orderly conduct of Government business or official functions; and (4)
knowingly engages in any act of physical violence against any person or property in any restricted
building or grounds; or attempts or conspires to do so. For purposes of Section 1752 of Title 18,
a “restricted building” includes a posted, cordoned off, or otherwise restricted area of a building
or grounds where the President or other person protected by the Secret Service, including the Vice
President, is or will be temporarily visiting; or any building or grounds so restricted in conjunction
with an event designated as a special event of national significance. Subdivision (b)(1)(A) includes
an enhancement for violating this provision while using or carrying a deadly or dangerous weapon.
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       Your affiant submits there is also probable cause to believe that BARRY BENNETT
RAMEY violated 40 U.S.C. § 5104(e)(2) (F), which makes it a crime to willfully and knowingly
(F) engage in an act of physical violence in the Grounds or any of the Capitol Buildings.

        Your Affiant submits that there is probable cause to believe that BARRY BENNETT
RAMEY violated 18 U.S.C. §§ 111(a)(1) and 111(b), which make it a crime to assault, resist,
oppose, impede, intimidate, or interfere with a federal law enforcement officer, as designated in
Section 1114 of Title 18, while engaged in or on account of the performance of official duties, and
in the commission of any such acts, to use a deadly or dangerous weapon or inflict bodily injury.
Section 1114 specifically lists United States Capitol Police (USCP) officers as federal law
enforcement officers. This definition under Section 1114 is further extended to any person
assisting such a federal officer or employee in the performance of his or her duties or on account
of that assistance. USCP officers are Federal law enforcement officers, and other law enforcement
officers were assisting them in protecting the Capitol and the Members of Congress on January 6,
2021.

        Your affiant submits there is probable cause to believe that BARRY BENNETT RAMEY
violated 18 U.S.C. 231(a)(3), which makes it unlawful to commit or attempt to commit any act to
obstruct, impede, or interfere with any fireman or law enforcement officer lawfully engaged in the
lawful performance of his official duties incident to and during the commission of a civil disorder
which in any way or degree obstructs, delays, or adversely affects commerce or the movement of
any article or commodity in commerce or the conduct or performance of any federally protected
function. For purposes of Section 231 of Title 18, a federally protected function means any
function, operation, or action carried out, under the laws of the United States, by any department,
agency, or instrumentality of the United States or by an officer or employee thereof. This includes
the Joint Session of Congress where the Senate and House count Electoral College votes.


                                                     _________________________________
                                                     Special Agent Ryan Nougaret
                                                     FBI

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 20th day of April 2022.                           Digitally signed
                                                                      by G. Michael
                                                     ___________________________________
                                                                   Harvey
                                                     G. MICHAEL HARVEY
                                                     U.S. MAGISTRATE JUDGE
